       Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 1 of 21




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

EMMA GOIDEL, ILANA LEE, MADELEINE
LEE, And LESLEY BROWN, on behalf of
themselves and all others similarly situated,
                                                            Case No. 1:21-cv-07619 (VSB)
                       Plaintiffs,
                                                            DECLARATION OF
       -against-                                            ZOE SALZMAN

AETNA LIFE INSURANCE COMPANY,

                       Defendant.


       ZOE SALZMAN, an attorney duly admitted to practice in the Southern District of New

York, declares under penalty of perjury:

       1.      I am a partner at Emery Celli Brinckerhoff Abady Ward & Maazel LLP

(“ECBAWM”), attorneys for the Plaintiffs in above-captioned matter.

       2.      I respectfully submit this declaration in support of Plaintiffs’ Motion for

Preliminary Approval of the class action settlement agreement (the “Settlement Agreement”),

which is attached as Exhibit 1, and to ask the Court to enter the Proposed Preliminary Approval

Order, attached as Exhibit 2.

       3.      Attached hereto are true and correct copies of:

               a.      The Settlement Agreement (Exhibit 1); and

               b.      The Proposed Preliminary Approval Order (Exhibit 2).

       4.      Subject to Court approval, the Named Plaintiffs Emma Goidel, Ilana Lee,

Madeleine Lee, and Lesley Brown (“Class Representatives” or “Named Plaintiffs”), individually

and on behalf of the class of individuals they seek to represent (collectively, the “Plaintiffs”), and



                                                  1
       Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 2 of 21




Defendant Aetna Life Insurance (“Aetna” or “Defendant”) (together, the “Parties”) have settled

this class action on the terms set forth in the Settlement Agreement. See Ex. 1.

       5.      Based on counsel’s analysis of the records produced in discovery, as well as

Aetna’s estimates—i.e., that 2.5% of those who were denied fertility coverage were also in an

Eligible LGBTQ+ Relationship—it is unlikely that there will be more than 200 Class Members.

               a.      The Parties have to date identified 67 Category A Class Members.

               b.      There are approximately 1,941 potential Class Members receiving notice

                       because they were denied IUI or IVF coverage by Aetna (comprising both

                       Category B members denied for IUI and Category C members denied for

                       IVF only). Based on counsel’s analysis and estimates, approximately 2.5%

                       of these individuals, or 49 additional potential Class Members (rounded

                       up), will be able to sign an Attestation, bringing the total estimated

                       Damages Settlement Class to 116 Class Members (assuming a 100%

                       response rate from this population).

               c.      The remaining Category C Class Members—who may learn of the

                       settlement through publication or direct notice—are unlikely to total an

                       additional 84 Class Members, to bring the Damages Settlement Class to

                       200 Class Members. Approximately 3,613 additional potential Category C

                       Class Members will receive direct notice because they were approved for

                       IVF treatment, but never sought coverage for IUI treatment. There is a low

                       likelihood that individuals in this group were in Eligible LGBTQ+

                       Relationships, completed 6 or 12 IUI cycles, never sought coverage for

                       those cycles, did not become pregnant from those cycles (obviating the



                                                 2
       Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 3 of 21




                       need to seek IVF coverage), and were thereafter approved for IVF

                       coverage. Finally, publication notice is not expected to yield many

                       additional Class Members because individuals learning of the settlement

                       via publication instead of direct notice (i.e., individuals who do not appear

                       in Aetna’s files at all) would have had to never have submitted any claims

                       for fertility insurance coverage at all. The fertility treatments at issue in

                       this case carry high costs, incentivizing individuals to seek insurance

                       coverage; accordingly, publication notice is not anticipated to yield many

                       additional Class Members. While it was important to ensure that notice

                       was sent to the most inclusive group as possible to account for low-

                       likelihood circumstances such as the above, it is not realistic that this

                       notice will yield sufficient Class Members to amount to more than 200 in

                       total.

       6.      Because the proposed settlement satisfies all of the criteria for preliminary

approval, the Parties respectfully request that the Court:

               a.      Grant preliminary approval of the Settlement Agreement, including

                       Appendix A (Administrator Proposal) and Appendix B (Allocation Plan)

                       thereto, Ex. 1;

               b.      Certify the two settlement classes (the “Injunctive Settlement Class” and

                       the “Damages Settlement Class”) and appoint Emery Celli Brinckerhoff

                       Abady Ward & Maazel LLP and the National Women’s Law Center as

                       class counsel for the Settlement Classes (“Class Counsel”);




                                                  3
       Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 4 of 21




               c.         Approve Atticus Administration LLC as the settlement administrator (the

                          “Administrator”);

               d.         Approve the form, content, and manner of notice to the Settlement Classes

                          and authorize notice to be distributed in the manner described in the

                          Declaration of Bryn Bridley (“Bridley Decl.”), as well as the proposed

                          notices to Class Members and the proposed forms in the Claim Form

                          Package, attached to the Bridley Declaration as Exs. B-F; and

               e.         Order Defendant to pay the costs of notice and administration to the

                          Administrator pursuant to the terms and conditions set forth in the

                          Settlement Agreement.

       7.      This declaration does not detail the full settlement or set out the entire history of

the case. The declaration sets out only those aspects of the litigation and settlement that are not

readily apparent from other documents attached as exhibits to this declaration or otherwise

available to the Court.

Discovery and Information Exchange

       8.      Before filing the action, Class Counsel thoroughly investigated the underlying

claims and collected significant factual information through pre-suit research and data gathering

from individuals who had been denied health care coverage for infertility benefits under their

Aetna health benefits plans. Named Plaintiffs Emma Goidel, Ilana Lee, Madeleine Lee, and

Lesley Brown provided substantial information about their experiences seeking coverage for

infertility treatments under the terms of their Aetna health benefit plans.

       9.      On September 13, 2021, Named Plaintiff Emma Goidel filed a Complaint on




                                                    4
           Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 5 of 21




behalf of herself and others similarly situated against Aetna Inc., alleging discrimination in

health care on the basis of sex in violation of 42 U.S.C. § 18116(a) and discrimination on the

basis of sex, sexual orientation, and gender identity or expression by a place of public

accommodation in violation of New York law. ECF No. 1. On November 5, 2021, Plaintiffs filed

a First Amended Complaint, adding Ilana Lee, Madeleine Lee, and Lesley Brown to the Named

Plaintiffs. ECF No. 20. Named Plaintiffs sought to represent a class of individuals who (a) were

LGBTQ individuals in New York; (b) were enrolled in health benefit plans underwritten or

administered by Aetna; and (c) were denied coverage for infertility treatments and forced to pay

out of pocket to obtain those treatments based on their inability to meet Aetna’s definition of

infertility. Id. ¶¶ 3-4, 7-8. The Named Plaintiffs sought injunctive relief and monetary damages

along with all other members of the putative class.

           10.   The Amended Complaint alleged that Aetna’s definition of infertility

discriminated against LGBTQ+ individuals in violation of Section 1557 of the Patient Protection

Affordable Care Act (“ACA”), Section 296(2)(a) of the New York State Human Rights Law

(“NYSHRL”), and Section 8-107(4) of the New York City Human Rights Law (“NYCHRL”).

Id. ¶ 9.

           11.   Defendant filed an Answer to Plaintiffs’ Amended Complaint on January 21,

2022, denying the majority of Plaintiffs’ allegations in the Amended Complaint. ECF No. 26.

           12.   During discovery, Class Counsel diligently pursued all information relevant to

Plaintiffs’ claims, including through serving numerous rounds of discovery requests and

reviewing tens of thousands of pages of documents Defendant produced (in total, Aetna

produced approximately 77,400 pages of documents), which were used to understand the

strengths and weaknesses of Plaintiffs’ claims. The discovery requests sought relevant policies,



                                                 5
       Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 6 of 21




practices, and directives of Aetna; electronic and hard-copy data maintained by Aetna regarding

the design and implementation of CPB 327; staff training materials related to coverage for

infertility treatment; electronic communications between Aetna personnel regarding design and

implementation of the CPB; and information about and examples of the denial or approval of

infertility benefits for LGBTQ+ individuals. Class Counsel and Aetna engaged in numerous

rounds of meet and confers with Aetna’s counsel in order to identify the types of data that could

lead to the identification of class members, including through several searches of multiple

different databases, which involved multiple rounds of exchanging and negotiating search terms

and parameters.

       13.     Class Counsel consulted with various experts and consultants, including experts

on infertility treatments and insurance industry data, in order to determine the appropriate

injunctive relief for Injunctive Class Members and the best avenues to identify and appropriately

compensate all Damages Settlement Class Members.

       14.     The Parties also engaged in extensive meet-and-confers regarding discovery in

this case and sought the Court’s intervention when the Parties could not reach agreement on

discovery matters related to privacy interests of members of Aetna health benefits plan. ECF No.

41. After settlement negotiations began to intensify, the Parties filed several letters requesting

stays of all Case Management Plan deadlines to focus on the ongoing settlement discussions.

ECF Nos. 59, 61, 67, 71, 73.

Negotiation of the Settlement

       15.     While Class Counsel and counsel for Aetna had preliminary settlement

conversations for some time, those conversations picked up in earnest in May 2023, when the

Parties believed that document discovery was complete or near complete. At that point, the



                                                  6
       Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 7 of 21




Parties identified a settlement framework and agreed to pause further fact discovery, except as it

related to discovering the individuals who may be potential Class Members.

       16.     Class Counsel conducted significant data analysis for the purpose of settlement

negotiations. For example, Class Counsel estimated, coordinating with counsel for Aetna, the

number of individuals in Eligible LGBTQ+ Relationships within Aetna’s records who may have

sought, been approved for (after incurring out-of-pocket expenses), or denied coverage for

artificial insemination or IVF within the Class Period; assessed the individual damages incurred

by the Named Plaintiffs and the likely average damages incurred by Class Members; analyzed

expert medical research studies; analyzed and researched the relevant insurance codes associated

with the fertility procedures at issue; and consulted with industry experts, physicians, and

medical personnel with firsthand knowledge of the fertility treatment process to determine the

appropriate injunctive relief and the appropriate damages compensation.

       17.     The Parties had multiple in-person and video, arm’s-length negotiation sessions

between May and September 2023 regarding the terms of a potential settlement.

       18.     After extensive discussion about the proposed scope and size of the class and the

structure of any settlement, the Parties agreed in principle as to the structure of Category A, B,

and C Class Members; the Default Dollars for Benefits Amount of $2,300; a Common Fund to

pay the Default Common Fund Amount and, to the extent funds remain, other damages; and that

any settlement related costs, including administration, notice, class representative service awards,

and attorneys’ fees and costs would be paid by the Defendant, separate from and in addition to

the Common Fund.

       19.     In light of the complexity and size of this settlement, the Parties decided to first

negotiate a term sheet with these essential terms before moving on to the details of a



                                                  7
       Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 8 of 21




comprehensive settlement. The Parties agreed on the scope of the Category A Class Members,

and Defendant agreed to coordinate with Class Counsel to determine the best way to identify

potential Category B Class Members within Aetna’s system and to ensure all potential Category

C Class Members receive proper notice of the settlement.

       20.        The Parties negotiated the manner, extent, and nature of notice to potential Class

Members extensively. Specifically, it was imperative to Class Counsel and the Named Plaintiffs

that the settlement administration and notice structure ensured that they could identify and reach

as many potential Class Members as feasible, including those who may not be identified in

Aetna’s system as having sought infertility treatment because they understood their plan would

not cover the IUI cycles necessary to meet the CPB’s prerequisite definition of infertility. Class

Counsel learned from LGBTQ+ individuals who had been seeking infertility treatments, as well

as from discussions with providers of infertility treatments, that insurance plans adhering to a

discriminatory definition of infertility—like the Aetna plans at issue—may create a chilling

effect on those seeking infertility care, resulting in some patients being dissuaded from filing

claims. Class Counsel was concerned that notice should reach as many of these potential Class

Members as feasible. In addition to providing a direct mailing to each potential Class Members

identified in Aetna’s system, the Parties agreed to issue a publication notice via an agreed-upon

set of publications and social media sites. Defendant also agreed to publish the Summary Notice

on its website.

       21.        On September 22, 2023, the Parties informed the Court that a settlement term

sheet had been signed, and the Parties would begin preparing a settlement agreement and a

motion for preliminary approval. ECF No. 75. At that time, the Parties had not yet reached

agreement on the amount Defendant would deposit into the Common Fund, as well as on several



                                                   8
       Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 9 of 21




other material terms, including the full scope and method of class notice, the terms of the non-

disparagement clause, the scope and timeline of the implementation of the injunctive relief, the

structure and timing of payment of individual awards, the amounts Aetna would pay for class

service awards and for Class Counsel’s attorneys’ fees and costs, and many other terms.

       22.     From November 2023 to April 2024, the Parties exchanged multiple drafts of the

settlement agreement and participated in multiple in-person and video meetings to negotiate at

arm’s-length the outstanding terms.

       23.     On December 5, 2023, the Parties participated in a mediation with the Honorable

Steven M. Gold (retired). During the mediation, the Parties reached agreement that Defendant

would deposit $2,000,000 into the Common Fund. Subsequently, the Parties also agreed during

the mediation that Aetna would pay class service awards of $15,000 per Named Plaintiff and an

attorneys’ fees and costs award of $1,625,000, separate and apart from the $2,000,000 Common

Fund. These amounts were negotiated and agreed to independently of, and only after the Parties

had already agreed to, the $2,000,000 amount for the Common Fund. These amounts were also

negotiated and mediated with the assistance of Hon. Steven M. Gold, who had received Class

Counsel’s billing and cost records.

       24.     The Parties continued to engage in arm’s-length negotiations regarding

outstanding open terms over the next few months.

       25.     The Parties filed several letters requesting stays of all Case Management Plan

deadlines to focus on negotiating the final outstanding terms and to draft an agreement. ECF

Nos. 77, 79, 81, 84, 86.

       26.     On February 21, 2024, the Parties held a meeting with Judge Gold, who agreed to

serve as the Special Master to assist in issuing compensation from the Common Fund. On March



                                                 9
      Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 10 of 21




20, 2024, the Parties held another meeting with Judge Gold, who reviewed, gave input on, and

ultimately approved the Allocation Plan to administer the Common Fund. Ex. 1, Appendix B.

       27.     Throughout this time, the Parties also solicited and reviewed multiple proposals

from potential administrators, and thereafter agreed to select Atticus Administration LLC

(“Atticus”), due in part to its extensive experience administering complex class action settlement

agreements, and its comprehensive scope of work proposal.

       28.     The Parties’ negotiations culminated in an agreement on all terms of the

Settlement Agreement, which was executed on April 18, 2024. Ex. 1.

       29.     The Named Plaintiffs approved the material terms of the Settlement Agreement

and were available during the negotiations and mediation to work with Class Counsel.

Main Terms of Settlement Agreement

       30.     The Settlement Agreement is fair and reasonable and provides for critically

important injunctive relief and significant compensation for all Class Members.

       31.     In terms of injunctive relief, the Settlement Agreement provides that Aetna will

implement a new policy for the administration of intrauterine insemination benefits (“IUI”),

making IUI a standard medical benefit in all of the fully insured commercial plans it issues,

subject to any legal or regulatory requirements (the “New IUI Policy”). Ex. 1 ¶ 57. For self-

funded plans that Aetna administers that include coverage for infertility services, Aetna will

incorporate the New IUI Policy in the same manner as its fully insured commercial plans, subject

to a plan sponsor’s request for a deviation. Id.

       32.     The Agreement also provides that Aetna will revise its CPB No. 327 Definition of

Infertility to include language that substantially conforms to the definition of “Infertility”

published by the American Society for Reproductive Medicine (“ASRM”) in 2023 such that the



                                                   10
      Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 11 of 21




criteria for determining whether a person is considered infertile shall include the need for

medical intervention, including, but not limited to, the use of donor gametes in order to achieve a

successful pregnancy. The Parties agree that individuals with a uterus in an Eligible LGBTQ+

Relationship qualify as infertile according to this definition. Id. ¶ 58.

       33.      The Agreement requires that no later than the Final Approval Order, Aetna will

implement all necessary programming changes and provide public and internal education and

training to implement these policy changes. At minimum, this will include: (1) training sessions

regarding these policy changes for all Aetna employees who make precertification and post-

service coverage determinations and for all Aetna employees who answer Aetna member

inquiries and complaints related to infertility; (2) an internal review of all public facing

documents that mention Aetna’s prior policy to change each document to reflect the policy

changes; and (3) public communications advertising these policy changes. Id. ¶ 59.

       34.      In terms of monetary relief, the Settlement Agreement is structured so that each

eligible Class Member receives: (1) a Default Common Fund Amount of approximately $10,000,

or if there are over 200 Class Members, equal pro rata payments of the Default Common Fund

Amount; and (2) separate from the Common Fund, a Default Dollars for Benefits Amount of at

least $2,300, if, according to Aetna’s records, their claims have not yet been reimbursed for

infertility treatments undergone during the Class Period that Aetna has determined should have

been covered under the individual’s health benefits plan but for the Definition of Infertility. See

id. ¶¶ 66–67.

       35.      The Agreement further provides that Class Members may receive a Dollars for

Benefits Payment higher than $2,300 if they submit to Aetna a valid Proof of Greater Covered

Care submission evidencing that they underwent covered fertility treatment that would have



                                                  11
      Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 12 of 21




resulted in reimbursement exceeding $2,300 under the terms of their Aetna health benefits plan

during the Class Period, but for the Definition of Infertility, as determined by Aetna. Class

Members whose claims have already been reimbursed and who submit a valid Proof of Greater

Covered Care submission may receive the difference between the previously-reimbursed amount

and the amount evidenced in their submission, as determined by Aetna. Id. ¶ 66(c).

       36.     The timeline of the settlement administration and payment is structured as follows

in the Agreement:

               a.      If the Court preliminarily approves the Settlement Agreement, within 30

                       days after the entry of Preliminary Approval Order, Aena will deposit

                       $2,000,000 into the Common Fund. Id. ¶¶ 23, 99.

               b.      On or before July 17, 2024, Aetna shall provide the Administrator with the

                       list and addresses of potential Class Members currently identified (those

                       who submitted precertification requests or claims from September 1, 2017,

                       through December 31, 2023) and the Administrator shall send out the first

                       round of notice. Id. ¶¶ 75–76; Ex. 2.

               c.      A second round of notice will occur in January 2025 in order to account

                       for any potential Class Members who may have submitted or will submit

                       precertification requests or claims for infertility services prior to Aetna’s

                       implementation of the injunctive relief on June 1, 2024 and who were not

                       captured in the first round of notice. See Ex. 1 ¶ 75(e). New York’s

                       Prompt Pay Law allows providers to submit claims up to 120 days after

                       the date of service, see N.Y. Ins. Law § 3224-A(g), and thereafter requires

                       that claims be adjudicated and paid within 30 days for electronically



                                                 12
Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 13 of 21




            submitted claims, or within days for paper or fax claims. Therefore, the

            last data pull will have to be 165 days after the last date of possible

            service—May 31, 2024—to account for New York law’s time allotment

            for providers to submit claims and for insurance companies to adjudicate

            and pay those claims.

      d.    We propose that the Fairness Hearing be held no sooner than one year

            after the Preliminary Approval Order so as to allow time for potential

            Class Members receiving the second round of notice to submit, as

            applicable to their category, the Attestation Form, Out-of-Pocket Expense

            Documentation Submission, Miscellaneous Harm Submission, Proof of

            Greater Covered Care Submission, and Claim Form Submission

            (collectively, the “Forms”) by the Bar Date, which we suggest shall be 45

            days prior to the Fairness Hearing. See Ex. 1 ¶ 130.

      e.    On or about 60 days before the Bar Date, the Administrator shall send

            Potential Class Members a reminder notice. Id. ¶ 78. On or about 30 days

            before the Bar Date, the Administrator shall send Potential Class Members

            a second reminder notice. Id. ¶ 79. Aetna will publish the Summary Notice

            on its website, and the Administrator will publish the Summary Notice in

            various media outlets and social media forums. Id. ¶¶ 80–81.

      f.    If the Court finally approves the Settlement Agreement, the Effective Date

            for Payment will be the day on which the Final Approval Order becomes

            final, i.e., (a) if no objector has lodged a timely objection, on the date of

            entry of the Final Approval Order, or (b) if an objector has lodged a timely



                                      13
      Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 14 of 21




                      objection, when the time for that objector to appeal has expired or, if the

                      objector has appealed from the Final Approval Order or any portion

                      thereof, on the date when the appeal results in the affirmance of the

                      Court’s Final Approval Order of this Agreement. Id. ¶ 32.

              g.      Aetna will process claims for Default Dollars for Benefits Amounts and

                      for any additional payments pursuant to valid Proof of Greater Covered

                      Care submissions between the entry of the Preliminary Approval Order

                      and the Effective Date for Payment, and will issue payments on the

                      Effective Date for Payment. Id. ¶ 66(d).

              h.      The Administrator will process Form submissions of any potential Class

                      Members seeking to participate in the Common Fund between the entry of

                      the Preliminary Approval Order and the Effective Date for Payment. Id. ¶

                      67(b)–(e). After the Administrator has allocated the Default Common

                      Fund Amount pursuant to the Allocation Plan and the Special Master has

                      determined and allocated the payments, if any, for Out-of- Pocket Expense

                      Submissions and Miscellaneous Harm Submissions, the Administrator

                      shall issue a check to each Class Member for their share of the Common

                      Fund on the Effective Date for Payment. Id. ¶ 67(d), (g).

       37.    The Agreement provides that Class Members will also be able to submit untimely

claims, which must be received within two months of the Bar Date. If the claimant established

“good cause,” in Class Counsel’s discretion, the Administrator will issue payment out of any

amount remaining in the Common Fund. Depending on the timing of such claims and the funds

then available, untimely claimants who have established “good cause” may not receive any



                                               14
      Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 15 of 21




payment, may receive a pro rata share of their Default Common Fund Amount, and may not be

entitled to payment from an additional Out-of-Pocket Expense Documentation Submission

and/or a Miscellaneous Harm Submission. Id. ¶ 68.

       38.     The Agreement provided for a joint press release announcing the proposed

settlement, however, the Parties subsequently agreed that Plaintiffs alone would issue the press

release in connection with the filing of the motion for preliminary approval. Id. ¶ 73.

       39.     The Agreement also provides that, at or about the time of the motion for Final

Approval, Class Counsel will make an application seeking Court approval for attorneys’ fees and

expenses in the amount of $1,625,000.00, to be paid separate and apart from the Common Fund.

Aetna shall not object or oppose (directly or indirectly) Class Counsel’s application for

attorneys’ fees and expenses nor shall Aetna or its agents directly or indirectly encourage any

person or entity to do so. Id. ¶¶ 96–97.

       40.     Named Plaintiffs Emma Goidel, Ilana Lee, Madeleine Lee, and Lesley Brown

have expressed their approval of the settlement by agreeing to the Settlement Agreement. In

accordance with the Settlement Agreement, Plaintiffs will request in their motion for Final

Approval that the Court approve service awards for the Named Plaintiffs in the amount of

$15,000 each—to be paid separate and apart from the Common Fund, see id. ¶ 104—in

recognition of the services they rendered on behalf of the class, including: approving material

terms of the Settlement Agreement and being available during settlement conferences; exposing

their private medical records and other intimate information to discovery and scrutiny; the

bravery exhibited in undergoing personal risk by publicly identifying themselves as individuals

in an LGBTQ+ relationship and in need of infertility treatments to build their families; and for

any inconvenience, pain, suffering, and other non-pecuniary loss experienced as a result of



                                                15
      Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 16 of 21




having been a named plaintiff in this action. The Named Plaintiffs have supported the

prosecution of this case for over two years, electing to defer any potential individual recovery

during that time, and will be paid at the same time as other Class Members.

Administration of the Settlement

       41.     Pursuant to the terms of the Settlement Agreement, as well as Atticus’s proposal

attached as Appendix A to the Agreement Atticus’s duties as Administrator will include, but will

not be limited to: (1) issuing notice, including information about the right to object or opt out of

the settlement; (2) distributing Claim Form Packages to and receiving executed forms from the

Claim Form Package from Class Members, as applicable pursuant to Paragraph 75 of the

Settlement Agreement; (3) establishing and administering the Common Fund and, upon

conclusion of the process, closing the Common Fund; (4) determining eligibility for Default

Common Fund Amount awards on the basis of information provided by counsel for the Parties

and by the Class Members, validating the claims, and providing Class Counsel and Defendant’s

Counsel a list of those persons found preliminarily eligible every 30 days; (5) evaluating Out-of-

Pocket Expense Submissions and calculating the amounts of payments for out-of-pocket

expenses pursuant to the Allocation Plan, in conjunction with the Special Master; (6) issuing and

mailing payments to eligible Class Members, and issuing and filing all required tax forms and

statements; (7) responding to inquiries from Class Members about this Agreement and the

procedures contained herein, including by the use of a toll-free number and a website;

(8) collating all objections to the Agreement for Class Counsel and Counsel for Defendant;

(9) creating a database of Class Members who have filed timely and valid forms, as applicable

pursuant to Paragraph 65 of the Settlement Agreement; (10) creating a database of Opt-Outs;

(11) coordinating and advancing payment for publication notice per Paragraphs 65(e) and 81 of



                                                 16
      Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 17 of 21




the Settlement Agreement; and (12) providing the Parties with regular bills and a final

accounting. See id. ¶ 84.

Advantages of Settlement

       42.      This section of my declaration sets forth some of the factual reasons that the

Settlement Agreement should be approved, as well as some of the risks of the litigation. This

declaration does not discuss the many advantages of the settlement that are apparent from the

face of the Agreement.

       43.      As detailed above, Defendant has agreed to implement ground-breaking

injunctive relief, including the New IUI Policy and revisions to the definition of “infertility” in

CPB 327, such that individuals with a uterus in an Eligible LGBTQ+ Relationship qualify as

“infertile,” without having to do, or pay for, any IUI cycles, and to ensure that individuals with a

uterus in an Eligible LGBTQ+ Relationship will not be required to undergo any greater number

of IUI cycles to qualify for IVF coverage than individuals with a uterus in a heterosexual

relationship.

       44.      Further, all Class Members are entitled to a significant default payment of

approximately $10,000, paid out of the $2,000,000 Common Fund funded by Aetna, and to the

extent money remains in the Common Fund after all Default Common Fund Amount payments

are made, may be eligible to receive additional compensation for miscellaneous harms and

additional out-of-pocket expenses. Separate from the Common Fund, to the extent their benefits

claim has not already been reprocessed, Class Members are also eligible to have their claims

reprocessed by Aetna and to receive a default payment of $2,300, and will have the opportunity

to receive higher compensation for greater covered care, up to the limit of their plan’s coverage,

if supported by sufficient documentation. Aetna has also agreed to pay for the costs of the



                                                 17
      Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 18 of 21




settlement administrator and Special Master, Class Representative service awards, and Class

Counsel’s attorneys’ fees and costs, separate from, and in addition to, the Common Fund and

Dollars for Benefits.

        45.     Given Aetna’s extensive data indicating which members sought and were denied

fertility benefits due to the discriminatory definition of infertility, the categorization of the

Damages Class Members allows for a more streamlined and structured identification process for

the Parties and puts less burden on the Damages Class Members to produce documentation they

may not readily have access to.

        46.     For example, the Parties agree that all Category A Class Members sought and

were denied coverage for infertility treatment due to the Definition of Infertility and were in an

Eligible LGBTQ+ Relationship, who were identified in discovery in Aetna’s records due to the

recorded sexes of the primary plan member and her spousal dependent plan member, as well as

in some instances, the text of the relevant claim denial letter or chart note, which indicated that

the member was in a same-sex relationship. All Category A Class Members will receive the

Default Common Fund Amount and Default Dollars for Benefits payments automatically on the

Effective Date for Payment, without submitting any forms, so long as they do not opt-out and the

Administrator can verify their addresses.

        47.     For Category B Class Members, Class Counsel was able to identify insurance

codes during discovery that reflected the denial of infertility coverage due to the Definition of

Infertility. Category B Class Members will therefore not need to submit documentation of their

interactions with Aetna, much of which would date back several years, which they may not have

access to, or which may be onerous, burdensome, and inefficient for Class Members to obtain,

particularly for those without a medical background. To be eligible for both the Default Common



                                                   18
      Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 19 of 21




Fund Amount and the Default Dollars for Benefits Amounts, Category B Class Members will

only need to submit an Attestation establishing that they were in an Eligible LGBTQ+

Relationship at the time they sought coverage, information which is not available in Aetna’s files

for Category B Class Members.

       48.     Finally, as a result of Class Counsel’s negotiations, Category C Class Members

will receive the Default Common Fund Amount and the Default Dollars for Benefits Amount so

long as they submit the same Attestation as Category B members and a Claim Form Submission,

even though Aetna never denied them IUI coverage, which is as inclusive as possible of potential

Class Members who were harmed but may have had limited or no interactions with Aetna.

       49.     This settlement amount represents a substantial value to Class Members given the

uncertainty and delay attendant to litigation. With a class period dating back to 2017, significant

amounts of necessary data analysis, and complex, cutting-edge, and evolving issues of law and

fact, this case is extraordinarily complex. Further litigation here would inevitably cause

additional, significant expense and delay. No depositions have been taken so far, including of

high-level Aetna executives and other key employees, or of any of the Named Plaintiffs.

Similarly, expert discovery in this case would be extensive, including the exchange of reports

and expert depositions.

       50.     After discovery, Class Counsel also anticipates summary judgment and class

certification motions raising many technical and emerging issues of law, including whether

Aetna’s fertility policy discriminates based on sex under Section 1557 of the ACA, whether

Aetna can be held liable under the ACA for its role as a third-party administrator of self-funded

plans, and whether Aetna would challenge the suitability of class certification under Federal Rule

of Civil Procedure 23. While Class Counsel believes the class would be certified and summary



                                                19
      Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 20 of 21




judgment granted in its favor, both motions present legitimate risks to the class, and considerable

time and resources would likely be expended on the inevitable appeals of the Court’s decisions

on class certification and summary judgment.

       51.     Even assuming the successful certification of the class and favorable outcomes on

summary judgment, a fact-intensive trial regarding damages would likely be necessary, and,

depending on the outcome of any summary judgment motions, may also be needed to determine

certain issues related to liability. A trial would be lengthy and complex. While Class Counsel

believe that Plaintiffs could ultimately establish both liability and damages, this would require

significant factual development, requiring hundreds of additional hours of discovery, plus the

time and resources required to litigate dispositive motions and prevail at trial, and then prevail

again on appeal.

       52.     For a class of people who have been denied the equal right to have children and

grow their family in the manner of their choosing, the Settlement Agreement provides immediate

and profound relief. Without a settlement, Class Members would not obtain relief for years—and

would potentially continue to be denied the infertility treatments they need to build their

families. This settlement represents a significant percentage of the best possible recovery and

makes relief available to Class Members promptly and efficiently.

       53.     For the reasons stated above and in the accompanying Memorandum of Law, the

Bridley Declaration, and exhibits, we believe the Settlement Agreement is fair and reasonable

and we respectfully ask the Court to enter the Proposed Preliminary Approval Order, attached as

Exhibit 2.




                                                 20
     Case 1:21-cv-07619-VSB-VF Document 94 Filed 05/03/24 Page 21 of 21




Dated: May 3, 2024
       New York, New York


                                                    /s/
                                          ZOE SALZMAN




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